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EXHIBIT

A
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
OF MEDICINE, a foreign corporation,

Plaintiff,
United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
Vv Case No.: 2:10-cv-10978

STEVEN L. WOODWARD,

 

 

Defendant.
Eric A. Buikema (P58379) STEVEN L. WOODWARD
CARDELLI, LANFEAR & BUIKEMA, P.C. | In Pro Per
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(248) 544-1100
ebuikema@cardellilaw.com

 

 

 

 

 

PLAINTIFF'S REQUESTS FOR ADMISSIONS
Plaintiff American University of Antigua College of Medicine, through counsel, pursuant
to Fed. R. Civ, P. 36 submits the following requests for admission. Your answer must admit the
request, specifically deny the request, or make a statement that you cannot truthfully admit or
deny the request. Fed. R. Civ. P. 36(a)(4). . A denial must fairly respond to the substance of the
matter. Fed. R, Civ. P. 36(a)(4). Pursuant to Fed, R. Civ. P. 36(a)(3) you have 30 days from the

date of this request to respond, —
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REQUEST 1
Please admit that you are the owner and operator of aua-med.com

RESPONSE:

REQUEST 2
Piease admit that you are the YouTube user auastudentrights,

RESPONSE:

REQUEST 3
Please admit that you are the owner of the YouTube channel auastudentrights.

RESPONSE:

REQUEST 4
Please admit that a purpose of aua-med.com is to deter potential students from enrolling at AUA.

RESPONSE:

REQUEST 5
Please admit that a purpose of the auastudentrights videos on YouTube is to deter potential
students from enrolling at ALA.

RESPONSE:
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REQUEST 6
Please admit that a purpose of the auastudentrights Channel on YouTube is to deter potential
students from enrolling at AUA.

RESPONSE:

REQUEST 7

Please adnut that on or before July 23, 2010 you republished aua-med.com without permission
from the court.

RESPONSE:

REQUEST 8

Please admit that on or before July 23, 2010 you republished the videos by auastudentrights on

YouTube and the associated channel without permission from the court.

RESPONSE:

REQUEST 9
Please admit that people have viewed the aua-med.com website and sent you that these viewers
are not parties to the instant suit.

RESPONSE:

REQUEST 10
Please admit that people have viewed and commented on the auastudent tights videos and

associated channel on YouTube and that these viewers are not parties to the instant suit.

RESPONSE:
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REQUEST 11
Please admit that you published the following file: http://www.aua-med.com/downloads/usmle-

pass-rate.ppt

RESPONSE:

REQUEST 12

Please admit that the htip://Awww.aua-med.com/downloads/usmle-pass-rate.ppt document

contains embedded student information including GPA and USMLE scores.

RESPONSE:

REQUEST 13
Please admit that the statements made on your website are intended to be factual.

RESPONSE:

REQUEST 14
Piease admit that you published statements that AUA routinely commits fraud upon its students:

RESPONSE:

REQUEST 15
Please admit that you published statements that AUA falsifies its students’ grades:

RESPONSE:
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REQUEST 16
Please admit that you published statements that AUA breaches contracts

RESPONSE:

REQUEST 17
Please admit that you published statements that AUA disregards student civil rights;

RESPONSE:

REQUEST 18
Please admit that you published statements that AUA conspires against its students;

RESPONSE:

REQUEST 19
Please admit that you published statements that AUA engages in unethical practices;

RESPONSE:

REQUEST 20
Please admit that you published statements that AUA has “malicious intensions”

RESPONSE:
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REQUEST 21

Please admit that you published statements that AUA administration and academic advisors are
of a “heinous nature”:

RESPONSE:

REQUEST 22
Please admit that you published statements that AUA students are sexually assaulted:

RESPONSE:

REQUEST 23
Please admit that you published statements that AUA professors teach students wrong
information

RESPONSE:

REQUEST 24
Please admit that you published statements that AUA conspires to commit fraud and violations
of civil rights;

RESPONSE:

REQUEST 25
Please admit that you published statements that AUA commits criminal activities reportable to
the FBI.

RESPONSE:
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REQUEST 26
Please admit that the only basis for your statement that AUA’s alleged criminal activities are

reportabie to the FBI is your own report of these alleged activities to the FBI.

RESPONSE:

REQUEST 27
Please admit that yon have no knowledge or information about other reports made about AUA to
the FBI.

RESPONSE:

REQUEST 28
Please admit that you published statements that AUA’s student pass rate for USMLE medical
board exams is only 22.9%;

RESPONSI:

REQUEST 29
Please admit that you published statements that AUA contrives false evidence in student
disciplinary proceedings;

RESPONSE:
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REQUEST 30
Please admit that you published statements that AUA colluded with St. Joseph Hospital to

maliciously end your career,

RESPONSE:

REQUEST 31
Please admit that you published statements that AUA’s agents and employees engaged in a
conspiracy.

RESPONSE;

REQUEST 32.
Please admit that you published statements that AUA abused its power.

RESPONSE:

REQUEST 33
Please admit that you published statements that AUA committed perjury.

RESPONSE:

REQUEST 34
Please admit that you published statements that AUA is otherwise immoral and unethical,

RESPONSE:
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REQUEST 35
Please admit that you published statements that AUA’s agents are liars;

RESPONSE:

REQUEST 36
Please admit that you published statements that Antigua is full of “rape, murder, fraud, and

government corruption” and that therefore AUA is an unsafe place.

RESPONSE:

REQUEST 37
If you admitted that you published any of the statements outlined in Requests 14 through 25 and

28 through 36, for each, please admit that you knew the statements were false when published.

REQUEST 38

If you admitted that you published any of the statements outlined in Requests 14 through 25 and
28 through 36, for each, please admit that you had no knowledge regarding the truth or falsity of
the statement when you published it.

RESPONSE:

REQUEST 39
Please admit that you do not have and never had any license, approval or other form of consent

from AUA to reproduce or otherwise utilize AUA’s tradename, trademarks or logos on your

websites.
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RESPONSE:

Dated: November 8, 2010

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fs! Eric A. Buikema (P58379)
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